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                     THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
                           CHARLESTON DIVISION


IN RE: AQUEOUS FILM-FORMING                      )   MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCT LIABILITY                          )
LITIGATION                                       )
                                                 )
                                                 )   This Document Relates to the
                                                 )
                                                 )   Following Actions:
                                                 )
                                                 )   Case No. 2:21-cv-01708



                NOTICE OF PENDING MOTION TO REMAND
      Pursuant to Case Management Order No. 2, ¶ 41, please take notice that a

Motion to Remand filed by Plaintiffs, Attorney General Dana Nessel, on behalf of

the People of the State of Michigan, and the State of Michigan (Plaintiffs), was

pending at the time this action was ordered transferred to this Court from the

United States District Court for the Western District of Michigan. The basis for the

Motion to Remand and related briefing (Dkt. Nos. 10-11) includes Plaintiffs’

arguments that Defendant 3M’s notice of removal is untimely and that there is no

viable federal contractor defense because Plaintiffs are not seeking any damages in

this case related to AFFF. Defendant 3M’s Opposition to Plaintiffs’ Motion to

Remand and Plaintiffs’ Reply to 3M’s Opposition appear on this Court’s docket as

Dkt. Nos. 15 and 16, respectively.




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Dated: June 11, 2021                     Respectfully submitted,

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                           CERTIFICATE OF SERVICE
       I hereby certify that on June 11, 2021 I electronically filed the foregoing
documents with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to all attorneys of record.
                                             /s/ Amy E. Keller
                                             Amy E. Keller




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